        Case 1:23-cr-00239-CKK Document 12 Filed 02/09/22 Page 1 of 1



                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

       V.

                                                          Case No. 22-mj-22
ILYA LICHTENSTEIN, and
                                                          Chief Judge Beryl A. Howell
HEATHER MORGAN

                                Defendant.


                  MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE

       Pursuant to Local Criminal Rule 44.l(c), Defendants move for the admission and

appearance of attorney Samson Enzer pro hac vice in the above-entitled action. The motion is

supported by the Declaration of Samson Enzer, filed herewith. As set forth in the Declaration,

Mr. Enzer is admitted and an active member in good standing in the following courts and bars:

the State of New York, the Southern District of New York, and the Second Circuit U.S. Court of

Appeals. This motion is supported and signed by Angela Collins, an active and sponsoring

member of the Bar this Court.

Dated: February 9, 2022                         Respectfully submitted,



                                                Angela.Collins
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